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                   IN THE UNITED STATES DISTRICT COURT FOR
                      THE SOUTHERN DISTRICT OF GEORGIA
                                                                    2969JU 17 AM 9:15
                              SAVANNAH DIVISION

     UNITED STATES OF AMERICA                                                    _


     an
                                               CASE NO. CR408-312
     GUO HUA JIANG,

          Defendant.


                                     0 RD E R

          Before the Court is the Government's Motion for a

     Preliminary Order of Forfeiture.           (Doc. 68).     Defendant has

     agreed to the forfeiture in his plea agreement.           (Guo Hua Jiang

     Plea Agreement at 3.)        For the reasons set forth below, the

     Government's motion is GRANTED.

          1. As a result of the guilty plea to Count One of the

     November 11, 2008 Indictment, for which the government sought

     forfeiture pursuant to 18 U.S.C. § 982(a) (6) and 8 U.S.C. §

     1324 (b), Defendant Guo Hua Jiang shall forfeit to the United

     States any property constituting, derived from, or traceable to

     the proceeds obtained directly or indirectly from the commission

     of the offense charged and any property used to facilitate, or

     intended to be used to facilitate, the commission of the offense

     charged. Specifically, Defendant shall forfeit $75,000.00 in

     United States Currency ("the Currency") in lieu of forfeiting

     the following real and personal properties: (1) 407 Roberts Way,




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Rincon, Georgia, (2) 128 Whitehall Avenue, Rincon, Georgia, and

(3) a 2005 Toyota Sienna, VIN 5TDZA23CO5S292954.

     2. The Court has determined, based on evidence in the plea

agreement and presented at the May 22, 2009 change of plea

hearing, that the property is subject to forfeiture pursuant to

18 U.S.C. § 982(a) (6) and 8 U.G.C. § 1324(b), and that the

government has established the requisite nexus between the

property and the offense to which Defendant entered a plea o

guilty.

     3. Upon entry of this Order, United States Customs and

Border Protection, or an authorized designee, ±5 authorized to

seize the subject property.

     4. The United States Attorney for the Southern District of

Georgia is authorized to conduct any discovery proper in

identifying, locating, or disposing of the Currency subject to

forfeiture in accordance with Fed. R. Cr±m. P. 32.2(b)(3).

     S. Upon entry of this Order, the United States is

authorized to commence any applicable proceeding to comply with

statutes governing third party rights, including giving notice

of this Order.

     6. The United States shall publish notice of the Order and

its intent to dispose of the Currency in such a manner as the

United States may direct. The United States may also, to the




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extent practicable, provide written notice to any person known

to have an alleged interest in the Currency.

     7. Pursuant to 21 U.S.C. § 853, any person, other than the

above named Defendant, asserting a legal interest in the

Currency may, within thirty (30) days of the final publication

of notice or receipt of notice, whichever is earlier, petition

the Court for a hearing without a jury to adjudicate the

validity of his or her alleged interest in the Currency and for

an amendment of the Order of Forfeiture.

     8.   Pursuant to Fed. R. Crim. P. 32.2(b) (3), this

Preliminary Order of Forfeiture shall become final as to the

Defendant at the time of sentencing and shall be made part of

the sentence and included in the judgment. If no third party

files a timely claim, this Order shall become the Final Order of

Forfeiture as provided by Fed. R. Crim. P. 32.2(c) (2).

     9.   Any petition filed by a third party asserting an

interest in the Currency shall be signed by the petitioner under

penalty of perjury and shall set forth the nature and extent of

the petitioner's right, title, or interest in the Currency, the

time and circumstance of the petitioner's acquisition of the

right, title or interest in the Currency, any additional facts

supporting the petitioner's claim and the relief sought.

     10. After the disposition of any motion filed under Fed. R.

Crim. P. 32.2(c) (1) (A) and before a hearing on the petition,


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discovery may be conducted in accordance with the Federal Rules

of Civil Procedure upon a showing that such discovery is

necessary or desirable to resolve factual issues.

     11.     The United States shall have clear title to the

Currency following the Court's disposition of all third party

interests or, if none, following the expiration of the period

provided in 21 U.S.C. § 853(n) (2) for the filing of third party

petitions.

     12. The Court shall retain jurisdiction to enforce this

Order, and to amend it as necessary, pursuant to Fed. R. Crim.

P. 32.2(e).

     13. The Clerk of the Court is DIRECTED to forward four (4)

certified copies of this Order to Assistant United States

Attorney Jessica L. McClellan, United States Attorney's Office

for the Southern District of Georgia, 100 Bull Street, Suite

201, Savannah, Georgia 31401.

     SO ORDERED this   17 day of June, 2009.

                           WILLIAM T. MOORE, JR , CHIEF JUDGE
                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF GEORGIA




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